         Case 4:07-cv-05944-JST Document 2315-8 Filed 01/10/14 Page 1 of 1



 1                                UNITED STATES DISTRICT COURT

 2                              NORTHERN DISTRICT OF CALIFORNIA

 3                                     SAN FRANCISCO DIVISION

 4   RE CATHODE RAY TUBE (CRT)                           No. 07-cv-5944-SC
     ANTITRUST LITIGATION,                               MDL No. 1917
 5

 6   This Document Relates to:                           [PROPOSED] ORDER RELATING CASES
 7   Alfred H. Siegel v. Technicolor SA, et al.,
     No. 13-cv-05261-SC
 8
     Sears, Roebuck and Co., et al. v. Technicolor
 9   SA, et al., No. 13-cv-05262-SC
10   Best Buy Co., Inc., et al. v. Technicolor SA,
     et al., No. 13-cv-05264-SC
11
     Target Corp. v. Technicolor SA, et al., No.
12   13-cv-5686-SC
13          Upon consideration of the Stipulated Administrative Motion to Consider Whether Cases
14   Should Be Related Pursuant to Civil Local Rule 3-12 the Court hereby GRANTS the motion and
15   ORDERS that the following cases are related to In re Cathode Ray Tube (CRT) Antitrust Litigation,
16   Case No. 07-CV-5944-SC; MDL No. 1917:
17          Case No. 13-cv-05261-SC        Alfred H. Siegel v. Technicolor SA, et al.
18          Case No. 13-cv-05262-SC        Sears, Roebuck and Co., et al. v. Technicolor SA, et al.
19          Case No. 13-cv-05264-SC        Best Buy Co., Inc., et al. v. Technicolor SA, et al.
20          Case No. 13-cv-05686-SC        Target Corp. v. Technicolor SA, et al.
21

22          IT IS SO ORDERED.
23

24   DATED:
                                                          Hon. Samuel Conti
25                                                        United States District Judge
26

27

28
     [PROPOSED] ORDER RELATING CASES                                         No. 07-5944-SC; MDL No. 1917
